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                         UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                 )
THOMAS LUCA, JR., individually and on            )
behalf of all others similarly situated,         )
                                                              Case No. 16-cv-746-MRH
                                                 )
                Plaintiff,                       )
                                                 )
        v.                                       )
                                                 )
WYNDHAM HOTEL GROUP, LLC and                     )
                                                           Electronically Filed and Served
WYNDHAM HOTELS & RESORTS, LLC,                   )
                                                 )
                Defendants.                      )
                                                 )

                                   JOINT STATUS REPORT

        Pursuant to the Court’s March 30, 2019 Order, ECF No. 178, Plaintiff Thomas Luca, Jr.

and Defendants Wyndham Hotel Group, LLC and Wyndham Hotels and Resorts, LLC respectfully

submit this joint status report.

        On March 29, 2019, the parties advised the Court that they reached an agreement in

principle to resolve plaintiff’s claims and those of the proposed class. Since that time, Defendants

have been working to finalize certain portions of the parties’ agreement.     The parties expect to

complete their remaining discussions within the next 30 days. Accordingly, on or before May 29,

2019, the parties anticipate filing preliminary approval papers for the settlement.
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Dated: April 29, 2019                          Respectfully submitted,

                                               /s/ K. Winn Allen
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                            Counsel for Plaintiff Thomas Luca, Jr.




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                                CERTIFICATE OF SERVICE

       I certify that on April 29, 2019, I electronically filed the foregoing with the Clerk of this

Court by using the CM/ECF system, which will accomplish service through the Notice of

Electronic Filing for parties and attorneys who are Filing Users.


                                             /s/ K. Winn Allen
                                             K. Winn Allen
                                             Counsel for Defendants
